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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 13-280V
                                      Filed: April 4, 2014
                                        For Publication


*************************************
DAVID D. GRIFFIN,                           *
                                            *
              Petitioner,                   *            Dismissal decision; motion for summary
                                            *            judgment; flu vaccine; GBS; federal
 v.                                         *            government contractor; not a federal
                                            *            employee
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
                                            *
*************************************
Lisa A. Roquemore, Irvine, CA, for petitioner.
Lara A. Englund, Washington, DC, for respondent.


MILLMAN, Special Master


                                              DECISION1

        On April 23, 2013, petitioner filed a petition for compensation under the National
Childhood Vaccine Injury Act of 1986 (“Vaccine Act” or “Act”), 42 U.S.C. §§ 300aa-10–34
(2006), alleging that he suffered Guillain-Barré Syndrome (“GBS”) caused by his February 1,
2012, receipt of flu vaccine. Petitioner received the flu vaccine while in Afghanistan employed
as a federal government contract worker.


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  Because this decision contains a reasoned explanation for the special master’s action in this case, the
special master intends to post this decision on the United States Court of Federal Claims’s website, in
accordance with the E-Government Act of 2002 § 205, Pub. L. No. 107-347, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 (2006)). Vaccine Rule 18(b) states that all decisions of the
special masters will be made available to the public unless they contain trade secrets or commercial or
financial information that is privileged and confidential, or medical or similar information whose
disclosure would constitute a clearly unwarranted invasion of privacy. When such a decision is filed,
petitioner has 14 days to identify and move to redact such information prior to the document’s disclosure.
If the special master, upon review, agrees that the identified material fits within the banned categories
listed above, the special master shall redact such material from public access.
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        On July 2, 2013, respondent filed a motion for summary judgment, arguing that petitioner
is not entitled to compensation under the Vaccine Act because he was not “serving abroad . . . as
an employee of the United States” when he received the flu vaccine. The motion has now been
fully briefed and is ripe for decision.

         In this case, petitioner does not qualify for compensation under section 300aa-11(c) of the
Vaccine Act. Based on the statutory language, legislative history, and purpose of the Vaccine
Act, it is clear that Congress intended to compensate only a certain class of persons who suffer a
vaccine injury after receiving a vaccine overseas. Congress provides protection to members of
the Armed Forces, federal employees, and individuals who return to the United States within six
months of their vaccination. Petitioner did not return to the United States within six months of
his vaccination. Nor is petitioner a member of the Armed Forces. Finally, under a traditional
agency analysis, petitioner cannot be considered an employee of the United States government.
Under the principles of sovereign immunity, the undersigned may not expand on the waiver of
immunity stated in the statute. Petitioner does not fall within any of the categories listed in
§ 300aa-11(c)(1)(B)(i)(II) or (III) and is thus not eligible to bring a petition in the Vaccine
Program.

   I.      Factual History

        Petitioner David Griffin is a United States citizen who worked for Fluor in the Fluor
Federal Global Project. He describes himself as a “civilian government employee.” Griffin
Decl. ¶ 5, Aug. 26, 2013. Fluor maintains a sizeable government contract with the Department
of Defense (“DOD”), and many of its employees work alongside United States Armed Forces
personnel in Afghanistan. Id. Fluor provides support services to DOD and other government
agencies through the U.S. Army Logistics Civil Augmentation Program. Ex. 10, at 1, 2. These
services include food services, latrines, waste management, facilities and construction
management, morale, and recreation, among others. Ex. 11, at 16. Petitioner asserts that the
salary and hiring criteria for a person in his position were set by the military. Griffin Decl. ¶ 8,
Dec. 18, 2013.

        The 80-page contract between HQ Army Sustainment Command and Fluor includes
various provisions regarding their relationship. See Ex. 11. The contract states that “the
awardee [Fluor] will operate as an independent contractor and not as an agent of the U.S.
Government or U.S. Army.” Ex. 11, at 3. It requires Fluor to ensure that all “deployable
employees are medically and physically fit.” Id. at 30. Fluor is responsible for obtaining its
employees’ passports and visas. Id. at 31. Fluor also trains its employees, with the exception
that the government will train contractor personnel on interacting with detainees, and Fluor is
responsible for ensuring that certain employees receive this training. Id. at 34; Id. at 56–57. The
contract allows the government to direct Fluor to “remove” any contractor personnel who
“jeopardize or interfere with mission accomplishment or who fail to comply with or violate” the
contract. Id. at 75. The contract specifies that “[c]ontractor personnel are prohibited from
wearing military clothing unless specifically authorized,” and even then, contract personnel must
“[w]ear distinctive patches, arm bands, nametags, or headgear, in order to be distinguishable
from military personnel.” Id. It also states:



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        All contractor personnel attending meetings, answering Government telephones,
        corresponding by email and working in other situations where their contractor
        status is not obvious to third parties are required to identify themselves as such to
        avoid creating an impression that contracted personnel are Government
        employees, or official representatives of a Governmental organization.

Id. at 19.

        Petitioner was hired by Fluor as a site manager located in Asia/Afghanistan. Ex. 1, at 10;
Ex. 4, at 10; Suppl. Resp. at 8. Pursuant to the contract between Fluor and DOD, petitioner
underwent required medical and security clearances. Ex. 11, at 5, 30. In July 2010, he was
acknowledged as “fit for duty” in accordance with USCENTCOM policies by Occucare
International in Dubai. Ex. 2, at 1. Petitioner’s security clearance was obtained through
CENTCOM Service Component. Ex. 14, at 8. Petitioner received emails from the Army
regarding his security investigation and was notified by Fluor Industrial Security when he passed
his security clearance. Ex. 19, at 1–2.

        On January 31, 2012, petitioner arrived in Afghanistan. Pet. at 2. On February 1, 2012,
petitioner received influenza vaccine, and his second vaccinations of MMR and varicella. Med.
recs. Ex. 5, at 1–3. The flu vaccine was a requirement by DOD and was distributed at a Fluor
clinic at Bagram Airfield, a United States military base. Ex. 15, at 8; Ex. 5, at 3. The
immunizations were provided at Fluor’s expense. Ex. 15, at 4.

        As a site manager, petitioner worked on a military base in Afghanistan. Griffin Decl.
¶ 13, Dec. 18, 2013. He describes his job as akin to a project manager. Id. at ¶ 12. He managed
“all departments” on the base, which required knowledge about “budgeting, the military’s
network, supervising, ordering of supplies, communicating, as well as . . . basic knowledge
regarding laundry, showers, latrines . . . plumbing, electrical, and cooking.” Id. Petitioner had
daily contact with military officials, including weekly meetings with military commanding
officers and the mayor of the base. Suppl. Resp. at 6. Petitioner and military officials discussed
deadlines, materials, and issues with projects at these daily meetings. Griffin Decl. ¶ 7, Dec. 18,
2013. Petitioner also had weekly telephonic conferences with his off-site Fluor supervisor,
Cheryl Robertson, in which other site managers were included. Id. at ¶ 8. Petitioner’s
management decisions as site manager were influenced by Army regulations. Id. at ¶ 12.
Petitioner used equipment and materials that were provided by the military and was required to
have military authorization for all requisitions. Id. at ¶ 9. The military reviewed petitioner’s
work performance. Id.

       Petitioner was paid an hourly rate by Fluor. Ex. 8, at 2–3; Ex. 9, at 1–2. Federal income
taxes were taken from his Fluor paycheck. Ex. 9, at 1–3. His health and dental care were
provided through Fluor. Id.; Ex. 20, at 1. The ultimate authority to terminate petitioner’s
employment remained with Fluor. Suppl. Resp. at 8. Petitioner also accrued leave through
Fluor. Id.

       In mid-February 2012, petitioner began to experience weakness and numbness in his
extremities. Med. recs. Ex. 3, at 4. On March 5, 2012, petitioner’s workers’ compensation

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report was filed with the U.S. Department of Labor. Ex. 20, at 1. The Defense Base Act
provides workers’ compensation protection to civilian employees working outside the United
States on U.S. military bases or under contract with the U.S. government for public works or for
national defense. 42 U.S.C. §§ 1651–55 (2006). A private insurance carrier, not the federal
government, pays for successful workers’ compensation claims under the Defense Base Act.
Division of Longshore and Harbor Workers’ Compensation (DLHWC), United States
Department of Labor, http://www.dol.gov/owcp/dlhwc/ DBAClaimAdministration.htm (last
visited Mar. 26, 2014). The contractor, not the government, is responsible for ensuring the
contractor’s employees have Defense Base Act coverage. Id. Petitioner lists Fluor as his
employer in three different places in his workers’ compensation papers. Ex. 20, at 1, 3, 5.

       On March 9, 2012, petitioner visited Makati Medical Center emergency department in
Manila, Philippines. Med. recs. Ex. 3, at 4. He complained of weakness and numbness in his
extremities for the previous 17 days (beginning February 21, 2012). Id. On March 12, 2012, Dr.
Cynthia B. Anacay noted that petitioner’s symptoms were supportive of Guillain-Barré
syndrome. Id. at 7.

   II.     Procedural History

         On April 23, 2013, petitioner filed a petition under the Act. On August 9, 2013,
respondent filed a motion for summary judgment, arguing that petitioner is not entitled to
compensation under the Vaccine Act because he was not “serving abroad . . . as an employee of
the United States” when he received the flu vaccine. Mot. Summ. J. at 1. Respondent argues
that the Vaccine Act is unambiguous and should be interpreted according to the ordinary usage
of “employee,” which means one who “works directly for an employer and receives
compensation and other benefits directly from the employer in return.” Id. at 4. (Respondent
does not cite a source for this definition.) Respondent argues that particularly in the context of
the federal government, contractors are treated differently from employees, for example, in their
eligibility for health insurance plans, pension plans, leave, and other benefits. Id. Respondent
further argues that the principles of sovereign immunity require the undersigned to construe any
ambiguity in favor of immunity. Id. at 5.

        On August 27, 2013, petitioner filed a response to respondent’s motion for summary
judgment. Petitioner argues that as a government contract worker stationed in Afghanistan,
petitioner was either a member of the Armed Forces or a federal employee. Opp. Mot. Summ. J.
Petitioner argues that the Vaccine Act is ambiguous and should be construed in context with the
liberal and inclusive policy behind the statute. Id. at 8–9. He argues that construing the statute
to exclude petitioner would lead to absurd results. Id. at 8. Petitioner cites Rooks v. Secretary of
HHS, 35 Fed. Cl. 1 (Fed. Cl. 1996), which rejected a narrow construction of the word “receive”
in a case dealing with whether a fetus in utero received a vaccination when his mother received
it. Opp. Mot. Summ. J. at 8–10. Petitioner also discusses Andrews v. Secretary of HHS, No. 90-
3196V, 1996 WL 300644 (Fed. Cl. Spec. Mstr. 1996), in which then-Special Master Abell
concluded that an engineer working in conjunction with the United States Department of State,
Agency for International Development (“USAID”) was a federal employee, using an analysis
based on whether the employee acted on “behalf” of the United States and whether the United
States exhibited the requisite quantum of “control.” Opp. Mot. Summ. J. at 11–12. Petitioner

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argues that contractors should be considered “de facto federal employees,” especially given the
increasingly “blended workforce” of civil servants, members of the military, and contractors. Id.
at 13. Petitioner goes on to argue that he should be considered either a non-combatant civilian
employee of the Armed Forces or a federal employee of the Department of Defense. Id. at 14.
Alternatively, petitioner argues that he should not be penalized for failing to return to the United
States within six months of his vaccination because he fully intended to return once his
employment was over and thus did not “legally leave” the United States. Id. at 16. Petitioner
also argues against a strict application of sovereign immunity. Id. at 16–17.

       On September 10, 2013, respondent filed a Reply in Support of Respondent’s Motion for
Summary Judgment. Respondent focuses on language in the contract that “repeatedly disclaims”
an employer/employee relationship between the United States government and contractor
personnel. Reply at 1–2. Respondent argues that it would not be “absurd, futile or
unreasonable” to construe the Vaccine Act to confer different legal rights and remedies upon
Americans who work or travel overseas than upon those who remain in the United States Id. at
2. Respondent also argues that petitioner had the alternative of returning to the United States
within six months of his vaccination in order to avail himself of eligibility under the Vaccine
Program. Id.

        On December 19, 2013, petitioner filed a Supplemental Response to Respondent’s
Motion for Summary Judgment. Petitioner argues that even though he filed a Defense Base Act
claim, he will be prejudiced if his petition is dismissed from this Program, as this Program
provides recovery for pain and suffering and for full wage loss. Suppl. Resp. at 3. Petitioner
concedes that benefits received from his Defense Base Act claim would be offset by any award
received in this Program. Id. Petitioner argues that a petitioner can have dual employers and
that he was a dual employee of both Fluor and the Department of Defense (“DOD”). Id. at 3, 10.
Petitioner discusses and compares this case to Harris v. Attorney General, 657 F. Supp. 2d 1, 12
(D.D.C. 2009), which held that an independent contractor for the Department of Justice was a
federal employee for Title VII purposes. Suppl. Resp. at 3–5. In Harris, the D.C. District Court
applied common law agency tests, including the test used in Spirides v. Reinhardt, 613 F.2d 826
(D.C. Cir. 1979),2 to determine whether the Department of Justice retained sufficient control
over Harris to qualify as her employer. Harris, 657 F. Supp. 2d 1. The district court eschewed
the contract between the parties, as contracts do not necessarily reflect “economic realities” of an
employment relationship. Id. at 10. Petitioner argues that he was a federal employee based on
the level of control exerted over him by the military, including factors such as who provided the
work environment and furnishings and whether his work was integral to the overall mission of
the government. Suppl. Resp. at 6–8.


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  Spirides involved a foreign language broadcaster who brought a Title VII complaint against the United
States International Communication Agency (“USICA”). 613 F.2d 826. The district court had found
that USICA was not the plaintiff’s employer and had dismissed her complaint on the grounds that her
contract with USICA referred to her as an independent contractor. Id. at 827. The Court of Appeals for
the District of Columbia Circuit reversed the district court’s grant of summary judgment, holding that the
determination of whether a person is an employee or an independent contractor requires an agency
analysis considering all of the circumstances of the work relationship, including the “economic realities,”
and that consideration of the contract alone was insufficient. Id. at 831–33.
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        On January 21, 2014, respondent filed a Supplemental Reply in Support of Respondent’s
Motion for Summary Judgment. Respondent argues that the complex control analysis advocated
by petitioner is irrelevant in the context of the Vaccine Program. Suppl. Reply at 2. Respondent
argues that “because the Vaccine Act was intended to streamline resolution of vaccine claims . . .
it is more reasonable to assume that Congress intended courts to use the easy-to-apply, plain
meaning of the term ‘employee.’” Id. at 2.

       The issue has now been fully briefed and is ripe for a decision.

                                           ANALYSIS

   A. Legal Standard for a Motion for Summary Judgment

       In order to grant a motion for summary judgment, a special master must find that there is
“no genuine dispute as to any material fact and that the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a); U.S. Ct. Fed. Cl. R. 56(a); see Vaccine Rule 8(d)
(authorizing summary judgment pursuant to Rule 56 of the U.S. Court of Federal Claims). The
moving party bears the burden to show the absence of any genuine issue of material fact. Jay v.
Sec’y of HHS, 998 F.2d 979, 982 (Fed. Cir. 1993). All of the non-movant’s statements are
regarded as true, and “all justifiable inferences” must be drawn in favor of the non-moving party.
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 253, 255 (1986). However, a non-moving party
must establish “more than the ‘mere scintilla of evidence’ in support of its position.” Harris, 657
F. Supp. 2d at 7. “If the evidence is merely colorable, or is not significantly probative, summary
judgment may be granted.” Anderson, 477 U.S. at 249–50.

        The essential inquiry is “whether the evidence presents a sufficient disagreement of fact
to require submission to the factfinder or whether it is ‘so one-sided that one party must prevail
as a matter of law.’” Jay, 998 F.2d at 982 (quoting Anderson, 477 U.S. at 251–52). “Summary
judgment is appropriate if the non-movant fails to offer ‘evidence on which the [factfinder] could
reasonably find for the [non-movant].’” Harris, 657 F. Supp. 2d at 7 (quoting Anderson, 477
U.S. at 252). Whether a plaintiff or petitioner is a federal employee is an appropriate question
for summary judgment. See, e.g., Lopez v. Johnson, 333 F.3d 959 (9th Cir. 2003); Harris, 657 F.
Supp. 2d 1; Redd v. Summers, 232 F.3d 933 (D.C. Cir. 2000).

   B. The Vaccine Act’s Requirements for Petitioners Who Received a Vaccine Outside of
      the United States

        Among other requirements, in order to receive compensation for a vaccine injury, a
petitioner must receive a vaccine under one of three circumstances. A person who “received the
vaccine in the United States or in its trust territories” may be eligible for compensation. 42
U.S.C. § 300aa-11(c)(1)(B)(i)(I) (2006). Alternatively, even if a petitioner received a vaccine
outside of the U.S. or its territories, a person may be eligible for compensation if either:

       at the time of the vaccination such person was a citizen of the United States
       serving abroad as a member of the Armed Forces or otherwise as an employee of
       the United States or a dependent of such a citizen, or . . . the vaccine was

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       manufactured by a vaccine manufacturer located in the United States and such
       person returned to the United States not later than 6 months after the date of the
       vaccination.

Id. § 300aa-11(c)(1)(B)(i)(II)–(III).

   C. Standards for Statutory Interpretation

         The question of whether petitioner is eligible for compensation under § 300aa-11(c)
raises an issue of statutory interpretation, which is an issue of law. Hellebrand v. Sec’y of HHS,
999 F.2d 1565, 1569 (Fed. Cir. 1993) (citing Munn v. Sec’y of HHS, 970 F.2d 863, 870 (Fed.
Cir. 1992)). “It is a general rule of statutory construction that where Congress has clearly stated
its intent in the language of a statute, a court should not inquire further.” Hellebrand, 999 F.2d at
1569 (quoting Brookside Veneers, Ltd. v. United States, 847 F.2d 786, 788 (Fed. Cir. 1988)). If
there is some ambiguity in a statute, “a court should seek to avoid construing a statute in a way
which yields an absurd result and should try to construe a statute in a way which is consistent
with the intent of Congress.” Hellebrand, 999 F.2d at 1570–71 (citing Haggar Co. v. Helvering,
308 U.S. 389, 394 (1940) (“All statutes must be construed in light of their purpose. A literal
reading of them which would lead to absurd results is to be avoided when they can be given a
reasonable application consistent with their words and with the legislative purpose.”)).

        The United States is sovereign and no one may sue it without the sovereign’s waiver of
immunity. United States v. Sherwood, 312 U.S. 584, 586 (1941). Respondent argues that the
principles of sovereign immunity require this Court to construe any ambiguity contained within
the statute in favor of the government. Mot. Summ. J. at 5 (citing Holihan v. Sec’y of HHS, 45
Fed. Cl. 201, 207 (Fed. Cl. 1999); Flannery v. Sec’y of HHS, No. 99-963V, 2003 WL 1699396,
at *8 (Fed. Cl. Spec. Mstr. Mar. 14, 2003)). Petitioner counters respondent’s argument with
more recent cases, which he argues demonstrate a departure from this strict view of sovereign
immunity. Opp. Mot. Summ. J. at 16–17.

        In Chickasaw Nation v. United States, the Supreme Court directed that “canons are not
mandatory rules” but rather “are designed to help judges determine the Legislature’s intent as
embodied in particular statutory language.” 534 U.S. 84, 94 (2001). In Richlin Security Service
Co. v. Chertoff, the Court stated, “The sovereign immunity canon is just that—a canon of
construction. It is a tool for interpreting the law, and we have never held that it displaces the
other traditional tools of statutory construction.” 553 U.S. 571, 589 (2008). In Richlin, after
considering the legislative history and policy considerations for the statutory term at issue, the
Court continued, “There is no need for us to resort to the sovereign immunity canon because
there is no ambiguity left for us to construe.” Id. at 590. Other special masters have viewed
Richlin as a “substantial change” in the sovereign immunity doctrine, allowing for a more
“liberal” construction of “remedial” legislation. See Castaneda v. Sec’y of HHS, No. 11-749V,
2012 WL 1722346, at *6 (Fed. Cl. Spec. Mstr. Apr. 24, 2012) (holding that the doctrine of
sovereign immunity did not require a narrow construction of the term “receive” and that the
petitioner’s child “received” a vaccine while in utero); Burch v. Sec’y of HHS, No. 99-946V,
2010 WL 1676767, at *2–*7, *9 (Fed. Cl. Spec. Mstr. Apr. 9, 2010) (providing a thorough
discussion of the Supreme Court’s sovereign immunity cases through recent years and also

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concluding that the petitioner’s child “received” a vaccine while in utero).

        In limiting its waiver of sovereign immunity, Congress created the requirements in
§ 300aa-11(c) as conditions precedent to suit. The undersigned’s duty is to determine whether
petitioner satisfied these conditions precedent, using traditional tools of statutory construction to
ascertain the legislative intent. United States v. Am. Trucking Ass’ns, 310 U.S. 534, 542 (1940).
The principles of sovereign immunity are one canon of construction. Richlin, 553 U.S. at 589.
Other tools of statutory interpretation include an analysis of the legislative history to determine
the underlying purpose of the statute. NLRB v. Bell Aerospace Co. Div. of Textron, Inc., 416
U.S. 267, 274–75 (1974).

        When Congress passed the National Childhood Vaccine Injury Act of 1986, it intended to
establish a “Federal ‘no fault’ compensation program under which awards can be made to
vaccine-injured persons quickly, easily, and with certainty and generosity.” H.R. Rep. No. 99-
908, at 3 (1986). A need for such legislation arose due to vaccine manufacturers’ difficulty in
obtaining insurance during the 1980s, resulting in the rising cost of vaccines and decreased
availability of vaccine manufacturers. S. Rep. No. 99-483, at 5 (1986). A stated legislative
purpose of the Vaccine Act was the federal government’s “responsibility to prevent the spread of
infectious diseases from other countries into the United States and between States within its own
borders.” H.R. Rep. No. 99-908, at 5 (1986). Congress attempted to make the Vaccine Injury
Compensation Program “fair, simple, and easy to administer” so that vaccine manufacturers
would “have a better sense of their potential litigation obligations,” and “a more stable childhood
vaccine market” would evolve. Id. at 7.

       This no-fault compensation program was intended to be simpler and more expeditious
and to provide more certain recovery than traditional tort litigation based on negligence. Id. at
6–7. In the 1989 amendments, Congress reiterated its intent that the Program operate informally
and expeditiously:

       Congress intended a quick, flexible, and streamlined system . . . . The system was
       intended to be “fair, simple, and easy to administer” and “to compensate persons
       with recognized vaccine injuries without requiring the difficult individual
       determinations of causation and injury.”

H.R. Rep. No. 101-386, at 512 (1989). Vaccine proceedings were meant to “be made as swift
and uncomplicated as possible.” Id. at 515.

        “The scope of the Vaccine Act does not extend beyond the borders of the United States.
The name itself refers to a ‘national’ act.” McGowan v. Sec’y of HHS, 31 Fed. Cl. 734, 739
(Fed. Cl. 1994) aff’g No. 90-2446V, 1994 WL 879451 (Fed. Cl. Spec. Mstr. May 10, 1994)
(holding that a person who received a vaccine outside the United States did not satisfy the
Vaccine Act’s requirement that she return to the United States by merely visiting the United
States). When creating the Vaccine Act, Congress was not concerned with “the continued supply
of vaccines outside the United States or the compensation of non-residents of the United States,
save for United States Government and military personnel stationed abroad.” Id. With respect
to § 300aa-11(c), the legislative history states only that “[a] petition must contain a variety of

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materials necessary to make a finding that compensation be made,” including “evidence that the
person on behalf of whom the petition is filed . . . met certain citizenship or location
restrictions.” H.R. Rep. No. 99-908, at 15 (1986) (cited in McGowan, 31 Fed. Cl. at 739 n.2). It
is logical that these citizenship and location restrictions are related to Congress’s stated purpose
of preventing infectious diseases from reaching the United States. See McGowan, 31 Fed. Cl. at
739. Congress realized that it could not prevent infectious diseases from entering our borders
without encouraging Americans who are overseas and are likely to return to the United States to
receive vaccinations before returning. Id. Thus, it created three categories of people who could
file a petition after receiving a vaccine overseas: (1) American citizens serving overseas as
members of the Armed Forces or federal employees, (2) dependents of American citizens serving
overseas as members of the Armed Forces or federal employees, and (3) persons who received a
vaccine created by an American vaccine manufacturer and who returned to the United States
within six months of vaccination. If these categories of persons overseas were not vaccinated,
when they returned to the United States, they could potentially spread disease within American
borders.

        Considering the principles of sovereign immunity as well as the clearly stated legislative
purpose that the Vaccine Act be a national program that prevents the spread of infectious disease
from other countries within this country’s borders, the undersigned will now analyze whether
petitioner falls within the exceptions listed in § 300aa-11(c).

               1. Petitioner did not return to the United States within six months of his
                  vaccination, as required by § 300aa-11(c)(1)(B)(i)(III).

        Petitioner did not return to the United States within six months of his vaccination. A
person who receives a vaccine made by an American vaccine manufacturer and who returns to
the United States within six months of his or her overseas vaccination may bring a petition in the
Vaccine Program. 42 U.S.C. § 300aa-11(c)(1)(B)(i)(III). As Judge Nettesheim noted in
McGowan, “There is no guidance as to why Congress drew a line at six months, yet Congress
did so and the court must honor it.” 31 Fed. Cl. at 739 (citing Amendola v. Sec’y of HHS, 989
F. 2d 1180, 1182 (Fed. Cir. 1993) (“When a statute expresses its purpose in short, clear terms,
the duty of the court is to apply the statute as written.”)).

        Additionally, § 300aa-11(c)(1)(B)(i)(III) has been interpreted to require a permanent
return, meaning “an injured person must return to the United States within six months of the
vaccination date, with the intention to remain permanently from that point on.” McGowan, 31
Fed. Cl. at 740, aff’g No. 90-2446V, 1994 WL 879451 (Fed. Cl. Spec. Mstr. May 10, 1994). In
McGowan, the undersigned held that a mere physical presence within the United States was not
enough to qualify as a “return.” 1994 WL 879451 at *4. In that case, the petitioner received a
vaccination in Canada, where she resided for two years. Id. at *1. She travelled to the United
States several times within six months of her vaccination to visit her grandparents for three to
four days at a time. Id. at *3. The undersigned found that a “mere physical presence” without a
“resumption of domicile” was insufficient “to constitute a ‘return’ to the United States.” Id. at
*4. Judge Nettesheim affirmed on appeal:

       To rule that “return” means simply to physically enter the United States is to
       invite absurd scenarios. As the transferee special master noted, such a

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       construction would allow expatriate Americans who have emigrated to other
       countries or non-citizens who have visited the United States merely to return and
       spend the day in the United States eligibility to petition and take advantage of the
       compensation program’s ease and funding. It defies logic that Congress would
       intend “return” to allow a physical presence without any intent to remain or any
       duration requirement, especially where the potential of affording compensation to
       visitors of the United States is present.

McGowan, 31 Fed. Cl. at 739–40 (internal citations omitted).

        Petitioner resides in the Philippines and has not returned to the United States since his
vaccination. Petitioner argues that he should be viewed as never having “left” the United States
because he never intended to give up his domicile in the United States. Opp. Mot. Summ. J. at
15–16. Under petitioner’s suggested interpretation, a “return” would require only a subjective
intent to return to the United States, without any requirement of physical presence or duration.
“[A] court should seek to avoid construing a statute in a way which yields an absurd result and
should try to construe a statute in a way which is consistent with the intent of Congress.”
Hellebrand, 999 F.2d at 1570–71 (quoted in McGowan, 31 Fed. Cl. at 739). The undersigned
rejects petitioner’s interpretation of “return” as requiring subjective intent without physical
presence. McGowan stands for the premise that both a physical presence and a subjective intent
to remain in the United States are required to meet the Vaccine Act’s “return” requirement.
Congress unequivocally required a petitioner receiving a vaccination overseas to return to the
United States within six months of his vaccination, unless he is a member of the Armed Forces
or a federal employee. It is clear that Mr. Griffin does not qualify as a petitioner under § 300aa-
11(c)(1)(B)(i)(III).

               2. Petitioner is not a member of the Armed Forces or a federal employee, as
                  required by § 300aa-11(c)(1)(B)(i)(II).

                       a. Member of the Armed Forces

        Petitioner is not a member of the Armed Forces. The “‘Armed Forces’ means the Army,
Navy, Air Force, Marine Corps, and Coast Guard.” Gonzalez v. Dep’t of Army, 718 F.2d 926,
928 (9th Cir. 1983) (quoting 10 U.S.C. § 101(4) (2012)). Reserve members and National Guard
members may also be considered members of the Armed Forces. See U.S. Armed Forces
Overview, Military.com, http://www.military.com/join-armed-forces/us-military-overview.html
(last accessed March 25, 2014). In contrast, petitioner repeatedly refers to himself as a “civilian
government employee.” A civilian is generally defined as a person who is not a member of the
military or Armed Forces. See Webster’s Ninth New Collegiate Dictionary 244 (1980) (defining
a “civilian” as “one not on active duty in a military, police, or fire-fighting force”). While
petitioner complied with certain requirements imposed by the Army, such as medical clearances,
he did not undergo basic training or any of the other steps that are indicia of being a member of
the Armed Forces. No source that the undersigned has found has identified civilians such as
petitioner to be “members of the Armed Forces.” For these reasons, it is unlikely that Congress
intended a civilian employee of a defense contractor to be considered a “member of the Armed
Forces.”


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                      b. Federal Employee

       Petitioner is not a federal employee. It is unlikely that Congress meant to include private
contract employees, each of whom may be under varying levels of control by the federal
government, as federal employees. Even under a common law agency analysis, the federal
government did not exert enough control over the manner and means of petitioner’s employment
to qualify as his employer or joint employer. An analysis of the contract belies any
representation by petitioner that it was his belief that the government was his employer. Most of
the aspects of his employment were controlled by Fluor, not the Department of Defense.

                              i.      Meaning of “Employee”

       The Vaccine Act does not define “employee.” Various definitions exist throughout case
law, statutory law, and dictionary definitions. Most common dictionary definitions for
“employee” focus on receiving payment for one’s services. Webster’s Dictionary defines an
employee as “one employed by another usu. for wages or salary and in a position below the
executive level.” Webster’s Ninth New Collegiate Dictionary 408 (1989); see also Random
House Dictionary of the English Language 638 (2d ed. 1987) (“a person working for another
person or a business firm for pay”); American Heritage Dictionary 450 (2d College ed. 1985) (“a
person who works for another in return for financial or other compensation”).

       The Supreme Court has directed that where Congress does not clearly indicate otherwise,
courts should use common law agency principles to determine whether someone is an
“employee.” Nationwide Mut. Ins. Co. v. Darden, 503 U.S. 318, 322–23 (1992) (discussing that
under both the Copyright Act of 1976 and the Employee Retirement Income Security Act of
1974 (“ERISA”), the common law agency test should be used). The Court stated that it is a

       “well established” principle that “[w]here Congress uses terms that have
       accumulated settled meaning under . . . the common law, a court must infer,
       unless the statute otherwise dictates, that Congress means to incorporate the
       established meaning of these terms. . . . In the past, when Congress has used the
       term ‘employee’ without defining it, we have concluded Congress intended to
       describe the conventional master-servant relationship as understood by common-
       law agency doctrine.”

Id. (quoting Cmty. for Creative Non-Violence v. Reid, 490 U.S. 730, 739–40 (1989)). The Court
noted that ERISA’s “definition of ‘employee’ as ‘any individual employed by an employer’ . . .
is completely circular and explains nothing.” Darden, 503 U.S. at 323 (citation omitted). The
Court then summarized its common law agency test:

       “In determining whether a hired party is an employee under the general common
       law of agency, we consider the hiring party’s right to control the manner and
       means by which the product is accomplished. Among the other factors relevant to
       this inquiry are the skill required; the source of the instrumentalities and tools; the
       location of the work; the duration of the relationship between parties; whether the
       hiring party has the right to assign additional projects to the hired party; the extent

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        of the hired party’s discretion over when and how long to work; the method of
        payment; the hired party’s role in hiring and paying assistants; whether the work
        is part of the regular business of the hiring party; whether the hiring party is in
        business; the provision of employee benefits; and the tax treatment of the hired
        party.”

Id. (quoting Reid, 490 U.S. at 751–52). “No one of these factors is determinative.” Reid, 490
U.S. at 752.

     The Court also cited the Second Restatement, which lists various factors related to the
common law agency analysis:

        In determining whether one acting for another is a servant or an independent
        contractor, the following matters of fact, among others, are considered: (a) the
        extent of control which, by the agreement, the master may exercise over the
        details of the work; (b) whether or not the one employed is engaged in a distinct
        occupation or business; (c) the kind of occupation, with reference to whether, in
        the locality, the work is usually done under the direction of the employer or by a
        specialist without supervision; (d) the skill required in the particular occupation;
        (e) whether the employer or the workman supplies the instrumentalities, tools, and
        the place of work for the person doing the work; (f) the length of time for which
        the person is employed; (g) the method of payment, whether by the time or by the
        job; (h) whether or not the work is a part of the regular business of the employer;
        (i) whether or not the parties believe they are creating the relation of master and
        servant; and (j) whether the principal is or is not in business.

Restatement (Second) of Agency § 220(2) (1958) (cited in Darden, 530 U.S. at 324). The Court
stated, “[s]ince the common-law test contains ‘no shorthand formula or magic phrase that can be
applied to find the answer, . . . all of the incidents of the relationship must be assessed and
weighed with no one factor being decisive.’” Darden, 530 U.S. at 324 (quoting NLRB v. United
Ins. Co. of America, 390 U.S. 254, 258 (1968)).

        Petitioner relies heavily on the interpretation of employment relationships under Title
VII3, arguing that he had joint employers: while he was undoubtedly an employee of Fluor, he
also saw himself as a federal employee controlled substantially by DOD. See Suppl. Resp. at 10.
Title VII of the Civil Rights Act of 1964 prohibits employers from discriminating based on race,
sex, color, religion, and national origin. 42 U.S.C. § 2000e (2006). The Equal Employment
Opportunity Act of 1972 expanded upon Title VII, protecting “employees or applicants for
employment” in federal executive agencies and defined units of other branches from
discrimination. 86 Stat. 111 § 717 (1972) (codified as 42 U.S.C. § 2000e-16(a) (2006)).



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  Petitioner also cites International Union v. Clark, 2006 WL 2598046 (D.D.C. Sept. 11, 2006), in which
the court used a joint employment test to determine whether the federal government exercised sufficient
control over Court Security Officers (“CSOs”) for the purposes of the CSOs’ suit under the Rehabilitation
Act of 1973.
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        Under Title VII, courts have determined that a person can have dual employers in both
the context of private employers and government employers. See Magnuson v. Peak Technical
Serv., Inc., 808 F. Supp. 500 (E.D. Va. 1992) (addressing private employers); see also Harris v.
Att’y Gen., 657 F. Supp. 2d 1 (D.D.C. 2009); King v. Dalton, 895 F. Supp. 831 (E.D. Va. 1995);
Spirides v. Reinhardt, 613 F.2d 826 (D.C. Cir. 1979) (all addressing public employers). Courts
have used the eleven-factor test articulated in Spirides to determine whether the putative
employer possesses the “right to control the ‘means and manner’ of the worker’s performance.”
Spirides, 613 F.2d at 831. Other courts have referred to the Spirides test as a “hybrid
employment test (which combines the economic realities test and the common law agency test).”
Lopez v. Johnson, 333 F.3d 959, 962 (9th Cir. 2003). Under the Spirides test, the most important
factor is the employer’s right to control the individual’s work, but other relevant factors are
considered, including:

       (1) the kind of occupation, with reference to whether the work usually is done
       under the direction of a supervisor or is done by a specialist without supervision;
       (2) the skill required in the particular occupation; (3) whether the “employer” or
       the individual in question furnishes the equipment used and the place of work; (4)
       the length of time during which the individual has worked; (5) the method of
       payment, whether by time or by the job; (6) the manner in which the work
       relationship is terminated; [i].e., by one or both parties, with or without notice and
       explanation; (7) whether annual leave is afforded; (8) whether the work is an
       integral part of the business of the “employer”; (9) whether the worker
       accumulates retirement benefits; (10) whether the “employer” pays social security
       taxes; and (11) the intention of the parties.

Spirides, 613 F.2d at 832 (quoted in King, 895 F. Supp. at 838). This test also demands analysis
of the “‘economic realities’ of the work relationship,” looking at the totality of the
circumstances. Spirides, 613 F.2d at 831. Additionally, the Harris court looked at the “parties’
understandings of their anticipated roles,” as well as whether the individual’s tasks were
“integral to the [putative employer’s] overall mission.” Harris, 657 F. Supp. 2d at 10–11.
Petitioner focuses heavily on the two latter factors in his briefs.

        Petitioner cites to the only other case addressing this specific issue in this Program, in
which then-Special Master Abell analyzed the meaning of “employee” within § 300aa-
11(c)(1)(B)(i)(II) of the Vaccine Act. Andrews v. Sec’y of HHS, No. 90-3196V, 1996 WL
300644 (Fed. Cl. Spec. Mstr. May 22, 1996). Special Master Abell’s decision is not binding on
the undersigned. “It is well-settled that ‘[s]pecial masters are neither bound by their own
decisions nor by cases from the Court of Federal Claims, except, of course, in the same case on
remand.’” Rickett v. Sec’y of HHS, 468 F. App’x 952, 959 (Fed. Cir. 2011) (quoting Hanlon v.
Sec’y of HHS, 40 Fed. Cl. 625, 630 (Fed. Cl. 1998), aff’d, 191 F.3d 1344 (Fed. Cir. 1999)).
Nevertheless, Andrews is relevant. In Andrews, Special Master Abell, looking to the
surrounding statutory terms and purpose of the Vaccine Act, concluded that “one’s status as a
federal employee need not be formal.” Id. at *4. He reasoned that since the Vaccine Act
mentions the employment relationship “only in the context of the person’s presence outside the
United States,” the key aspect within the employment relationship is the authority to assign the



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person to a location outside of the United States. Id. at *5. Special Master Abell held that
employees are persons

       who act, formally or informally, in an official capacity on behalf of the United
       States, or who perform services for the United States similar to those who are
       otherwise considered employees of the federal government, regardless of the
       source of salary or wage. Additionally, the United States must be able to exercise
       that quantum of control relevant to this Act, viz., authority to station personnel
       extra-territorialy [sic].

Id. He concluded that the petitioner’s father was an employee of the United States because, even
though his employment contract was with the Near East Foundation rather than with USAID, he
served the United States’ interest by performing services that the United States was contractually
obligated to perform, maintained an office at the United States Embassy, underwent a security
clearance, and was subject to USAID leave regulations. Id. at *1, *6–*7. He emphasized the
importance of the State Department’s issuing a diplomatic passport to petitioner’s father, finding
it indicated a “close, official relationship with the United States.” Id. at *6. He found the
diplomatic passport “the most compelling evidence that petitioner’s father was a federal
employee.” Id. He also found that USAID controlled petitioner’s father because it determined
whether he could take leave out of the country. Id. at *7.

        Special Master Abell found it sufficient to qualify under the Vaccine Act as a federal
employee if a person acted in an official capacity on behalf of a federal agency or performed
personal services similar to the services of a civil officer or federal employee. Id. at *5. He
found the key aspect of employment status was the employer’s authority to assign the person in
question outside United States’ territory. Id. The undersigned disagrees with Special Master
Abell’s analysis of the meaning of “an employee of the United States” within the Vaccine Act.
42 U.S.C. § 300aa-11(c)(1)(B)(i)(II). As mentioned previously, the Supreme Court has directed
that, unless Congress has indicated otherwise, common law agency analysis should be used to
determine a person’s status as an employee, and the factors emphasized by Special Master Abell
(whether someone acted in an official capacity or whether an employer had the authority to
assign a person overseas) are not emphasized in general agency law. Darden, 503 U.S. at 322–
23. Special Master Abell asserted that the reason federal employees need not demonstrate they
received a vaccine manufactured in the United States or returned to the United States within six
months of their vaccination, as individuals under § 300aa-11(c)(1)(B)(i)(III) must do, “must lie
in the federal government’s authority to locate individuals extra-territorially in order to
accomplish national objectives,” but there is no evidence that this was Congress’s reasoning.
Andrews, 1996 WL 300644, at *5. The legislative history is silent as to the reason Congress
gave preferential treatment to members of the military and federal employees overseas in
comparison to other Americans overseas. The undersigned also notes the factual differences
between Andrews and the instant action. In this case, petitioner did not have a diplomatic
passport, and he was required to avoid creating the impression that he was a member of the
military or a federal employee. Nor is there any evidence that the military, rather than Fluor,
determined where petitioner would be located.




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                                ii.      Common Law Agency Analysis

        Given the overwhelming legal authority applying traditional agency law when Congress
fails to satisfactorily define “employee” within a statute, the undersigned concludes that the
traditional agency test is the appropriate test to apply in this circumstance. See Nationwide Mut.
Ins. Co. v. Darden, 503 U.S. 318, 323 (1992); New York Life Ins. Co. v. United States, 190 F.3d
1372, 1382 (Fed. Cir. 1999); Bender v. Suburban Hosp., Inc., 159 F.3d 186, 190 (4th Cir. 1998);
Frankel v. Bally, Inc., 987 F.2d 86, 90 (2d Cir. 1993). The undersigned will apply the factors
given by the Supreme Court and in the Second Restatement of Agency. Since petitioner has
focused heavily on the Spirides factors, which are highly similar to those considered under the
traditional agency test, the undersigned will also analyze those factors. More simply stated, the
question is whether, under the totality of the circumstances, the federal government exhibited the
requisite control over the manner and means of petitioner’s employment to qualify as his
employer.

        First, one must analyze the level of control the government exercised over the details,
manner and means, and hours of petitioner’s work. Reid, 490 U.S. at 751; Restatement (Second)
of Agency § 220(2); Spirides, 613 F.2d at 832. This is often the most important factor. Spirides,
613 F.2d at 831. The government exhibited some control over petitioner’s employment.
Petitioner emphasizes the Army’s authority to set hiring qualifications as evidence of its control.
For example, employees of Fluor were required to pass DOD health, security, and background
clearances. Ex. 11, at 5, 30. The contract also provides that the government retains control in
certain areas related to safety of contractor personnel. For example, the State Department has
responsibility for evacuating non-essential personnel in an emergency. Id. at 30. The
government also retains federal jurisdiction over contractor personnel in the event that they
commit a crime while abroad and serving alongside the Armed Forces. Id. at 33. In the
undersigned’s view, these areas of control reserved by the government are not highly significant
in terms of an employer/employee relationship. These areas relate not to the everyday
performance of the agent’s duties, but rather are understandable and necessary measures related
to the safety and security of both the contractor employees and members of the military.
Traditional agency analysis has tended to focus on the level of control over the day-to-day
physical details of the agent’s job.4

4
  For example, the Restatement defines an agent as “a person employed to perform services in the affairs
of another and who with respect to the physical conduct in the performance of the services is subject to
the other’s control or right to control.” Restatement (Second) of Agency § 220(1) (emphasis added).
Comment E of the Second Restatement elaborates on this point:

        Those rendering service but retaining control over the manner of doing it are not servants.
        They may be agents, agreeing to use care and skill to accomplish a result and subject to
        the fiduciary duties of loyalty and obedience to the wishes of the principal; or they may
        be persons employed to accomplish or to use care to accomplish physical results, without
        fiduciary obligations, as where a contractor is paid to build a house. An agent who is not
        subject to control as to the manner in which he performs the acts that constitute the
        execution of his agency is in a similar relation to the principal as to such conduct as one
        who agrees only to accomplish mere physical results. For the purpose of determining
        liability, they are both “independent contractors” . . . .


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         Furthermore, even though the government required that petitioner pass various
clearances, Fluor was the responsible party for ensuring that these criteria were met. The
contract provided that Fluor was responsible for ensuring that employees were medically and
physically fit and stated that immunizations and pre-deployment medical screenings were to be
provided at Fluor’s expense. Ex. 11, at 30; Ex. 15, at 4. It also provided that Fluor was
responsible for providing another qualified employee if the government determined that a
contractor employee did not meet the requisite health or security requirements. Ex. 11, at 31. In
fact, it was Fluor, not the Army, who notified petitioner when he passed his security clearance.
Ex. 19, at 2.

        Fluor was responsible for other important areas related to petitioner’s employment as
well. The contract provided that Fluor was responsible for obtaining passports, visas, and other
required documents for its employees. Ex. 11, at 31. (This differs from a key factor in Andrews,
1996 WL 300644 at *6, where Special Master Abell found it highly significant that the
petitioner’s father in that case was granted a diplomatic passport.)

         Consistent with a traditional agency analysis, petitioner also asserts that his day-to-day
activities were controlled by the military. He states that most of his daily contact was with
military members and that he had weekly meetings with military commanders, in which they
discussed action items, progress on previous action items, deadlines, and materials needed.
Griffin Decl. ¶ 7, Dec. 18, 2013. Petitioner also met weekly via telephone with his Fluor
supervisor, along with ten other site managers. Id. He asserts that he reported to his Fluor
supervisor, but military officers instructed him as to his duties. Id. Petitioner writes in his
affidavit, “The government, through their regulations, controlled how my job duties were done
and how decisions were made.” Id. at ¶ 11. Again, the undersigned does not find these aspects
of control to be determinative of an employer/employee relationship. Agency analysis tends to
focus on the principal’s control of the physical details of a servant’s actions. See supra note 4.
Rather than providing factual details indicative of control, petitioner provides mostly conclusory
statements that the government was “calling the shots.” Griffin Decl. ¶ 7, Dec. 18, 2013. It is
unsurprising that much of petitioner’s daily contact was with military members, as the purpose
for Fluor being in Afghanistan was to support military operations. In fact, petitioner met weekly
with both his Fluor supervisor and with government officials, thus indicating that Fluor had at
least an equivalent level of control over the details of his work. Military officers may have been
directing petitioner as to the results they wanted him to achieve, but petitioner has not presented
facts that the military controlled the “manner of” achieving those results. Spirides, 613 F.2d at
831–32 (“If an employer has the right to control and direct the work of the individual, not only as
to the result to be achieved, but also as to the details by which that result is achieved, an
employer/employee relationship is likely to exist.”); see also supra note 4. Petitioner asserts that
he “discussed” his responsibilities with military officials at weekly meetings. Griffin Decl. ¶ 7,
Dec. 18, 2013. This suggests that he was not merely taking orders. Moreover, petitioner’s
description of himself as a skilled worker with knowledge about various construction areas and
an understanding of Army regulations suggests that he used these skills to exercise independent
judgment in his management decisions.


Id.
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        Another factor to consider is whether petitioner’s work was a “part of [the Army’s]
regular business,” Restatement (Second) of Agency § 220(2), or stated another way, whether it
was part of the Army’s “integral” business. Spirides, 613 F.2d at 832. Related to this analysis is
whether petitioner had specific skills that would weigh in favor of his being an independent
contractor. Reid, 490 U.S. at 751; Restatement (Second) of Agency § 220(2); Spirides, 613 F.2d
at 832; see also Izard v. United States, 946 F.2d 1492, 1494 (10th Cir. 1991) (reciting state law
agency tests under which, “[i]f the contract work is specialized per se, it is not, as a matter of
law, part of the principal’s trade, business, or occupation”); Restatement (Second) of Agency
§ 220(2), Comment H (noting that “work which does not require the services of one highly
educated or skilled” is a factor indicating a master/servant relationship).

        Fluor provided support services to DOD, including food services, latrines, waste
management, facilities and construction management. Ex. 11, at 16. Petitioner was a site
manager in Afghanistan. Griffin Decl. ¶ 12, Dec. 18, 2013. He describes his job as akin to a
project manager. Id. His job required knowledge about “budgeting, the military’s network,
supervising, ordering of supplies, communicating, as well as . . . a basic knowledge regarding
laundry, showers, latrines . . . plumbing, electrical, and cooking.” Id. Petitioner notes that his
knowledge and management of all these areas were based upon Army regulations. Id. Petitioner
asserts that he “was hired to do a specialized job that was part of the military’s mission.” Id. at
¶ 10. Focusing on the Harris decision, in which the District Court applied the Spirides factors,
petitioner argues that his work was “integral to the overall mission” of the military. Harris, 657
F. Supp. 2d at 11. Petitioner argues that subcontractors like himself are “akin to the ‘Draft.’”
Griffin Decl. ¶ 10, Dec. 18, 2013. He argues that if the military did not employ subcontractors,
soldiers would have to do the jobs that the subcontractors currently carry out. Id.

        While it is true that petitioner’s job was necessary to the business of the military,
petitioner’s argument misconstrues the purpose of this factor in an agency analysis. In Harris,
the District Court of the District of Columbia found that an independent contractor working as a
Personnel Security Specialist at the Executive Office of United States Attorneys (“EOUSA”) of
the Department of Justice was a federal employee. In that case, one of EOUSA’s “stated ‘major
functions’ [was] to ‘[p]rovide operating personnel and security administrative services.” 657 F.
Supp. 2d at 11. The stated mission of DOD is to “provide the military forces needed to deter war
and to protect the security of our country.” About the Department of Defense (DOD), U.S.
Department of Defense, www.defense.gov/about/ (last visited March 28, 2014). Unlike the
Harris plaintiff who was herself carrying out a core function of the organization, Mr. Griffin
provided support services, which though necessary, were secondary to the core mission of the
military. Additionally, the fact that he describes himself as doing a specialized job with specific
skills weighs in favor of an independent contractor relationship.

       Additional factors considered in an agency analysis are the location of the employee’s
work and whether he provided his own tools and instrumentalities. Reid, 490 U.S. at 751;
Restatement (Second) of Agency § 220(2); Spirides, 613 F.2d at 832. In this case, the contract
provides that the government furnish the place of performance and the property necessary for
Fluor’s provision of support services. Ex. 11, at 28. Petitioner argues that the military controlled
his work environment and furnishing, since he worked on the military base. Suppl. Resp. at 7.
He asserts that the government controlled his office space, equipment, and supplies, including

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calculators, pens, and paper. Griffin Decl. ¶ 13, Dec. 18, 2013. He states that the government
was required to sign off on all requisitions for the equipment or materials necessary to do his job.
Id. This factor does weigh in favor of an employer/employee relationship. However, as stated
above, no single factor in an agency analysis is determinative. Reid, 490 U.S. at 752. Moreover,
the contract provides that the contractor (Fluor) is to provide the government with a list of all
property required to fulfill their contractual obligations, Ex. 11, at 29, meaning that Fluor
maintained some level of control over the tools and instrumentalities used during the work.

        Another factor to be considered under the Spirides test is the method of termination.
Spirides, 613 F.2d at 832. Petitioner argues that United States Army officials had control over
his performance reviews and had the power to have him fired if they were not pleased with his
work performance. Griffin Decl. ¶ 8, Dec. 18, 2013. However, petitioner gives no details as to
how the military influenced his performance reviews. The contract provides that “government
representatives may advise the Contractor of any poor performance in order to provide the
opportunity for improvement during the evaluation period.” Ex. 11, at 35 (emphasis added).
Although the government could direct Fluor to “remove” contract personnel for failure to
comply with the contract, Id. at 75, it does not give the government the power to fire petitioner.
Rather, petitioner concedes that Fluor had the ultimate authority to terminate his employment.
Supp. Resp. at 8. Thus, the method of termination factor weighs in favor of Fluor being
petitioner’s employer.

       Other relevant factors include the method of payment and an employee’s benefit and tax
treatment. Reid, 490 U.S. at 751–52; Restatement (Second) of Agency § 220(2); Spirides, 613
F.2d at 832. The contract specifies a schedule and criteria for the amount of fees awarded to
Fluor. Ex. 11, at 35–36. In addition, the contract provides that the government will not
reimburse the contractor for any costs deemed unreasonable, and that any base pay or allowance
increases in excess of 10% should be approved by the contracting officer. Ex. 11, at 37.

        Petitioner was paid an hourly rate by Fluor. Ex. 8, at 2–3; Ex. 9, at 1–2. Federal income
taxes were taken from his Fluor paycheck. Ex. 9, at 1–3. There is no evidence that he received
retirement benefits through the federal government. He was not eligible for Tricare or other
federal government employee health benefit plans. His health and dental care were provided
through Fluor. Ex. 9, at 1–3; Ex. 20, at 1 (identifying “Chartis” as his health insurance carrier).
In fact, the contract explicitly limits the government’s responsibility to provide medical care to
contractor personnel, authorizing only emergency medical care, the cost of which was to be
reimbursed by Fluor. Ex. 11, at 31. Petitioner received the flu vaccine at a Fluor medical clinic.
Ex. 5, at 3. When petitioner became ill, his medical treatment was authorized by a physician at
Fluor Medical Clinic, not at a medical clinic operated by the Army. Ex. 20, at 1. Each of these
factors involving payment and employment benefits indicates that he was an employee of Fluor,
not an employee of the federal government.

        Another factor is the belief or intent of the parties regarding their employment
relationship. Restatement (Second) of Agency § 220(2); Spirides, 613 F.2d at 832. While
petitioner asserts that he felt as if he were a member of the Armed Forces and a federal
employee, all objective evidence manifests the parties’ clear intent that Fluor be treated as an
independent contractor and that Fluor’s employees not be treated as federal employees. The

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contract between Fluor and the government states that “the awardee [Fluor] will operate as an
independent contractor and not as an agent of the U.S. Government or U.S. Army.” Ex. 11, at 3.
It specifies that “[c]ontractor personnel are prohibited from wearing military clothing unless
specifically authorized,” and even then, contractor personnel must “[w]ear distinctive patches,
arm bands, nametags, or headgear, in order to be distinguishable from military personnel.” Id. at
75. It also states:

       All contractor personnel attending meetings, answering Government telephones,
       corresponding by email and working in other situations where their contractor
       status is not obvious to third parties are required to identify themselves as such to
       avoid creating an impression that contracted personnel are Government
       employees, or official representatives of a Governmental organization.

Id. at 19. The contract required that contractors wear badges, from which an individual could
identify them as a contracted employee by a minimum distance of ten feet. Id.

        Based on the contract language and petitioner’s treatment while on base, it is apparent
that there was a clear distinction between contractor employees and federal employees/members
of the Armed Forces. Additionally, petitioner listed Fluor as his employer in his workers’
compensation claim, thus exhibiting that he understood himself to be an employee of Fluor—not
a member of the Armed Forces or federal employee. Ex. 20, at 1, 3, 5.

         A comparison to other cases reinforces the conclusion that petitioner was the employee of
an independent contractor rather than a federal employee. In International Union v. Clark, a case
cited in petitioner’s brief, the District Court of the District of Columbia determined that Court
Security Officers (“CSOs”) were joint employees of both the United States Marshal Services
(“USMS”) and private contractors. 2006 WL 2598046 (D.D.C. 2006). In that case, the
contractors conducted initial employment screenings, paid the CSOs’ salaries, provided their
benefits, withheld taxes on their behalf, maintained their time and attendance records, and had
the ultimate power to terminate their employment. Id. at *2. However, USMS set medical,
physical, and weapons proficiency standards; interviewed prospective CSOs; performed
background checks; supplied essential equipment; conducted the bulk of the CSOs’ training;
performed performance reviews based on specific standards; determined the CSOs’ daily duties;
and retained the power to decide whether the CSOs should be removed from the contract for
failure to meet the qualifications USMS set for the job (which invariably led to termination of the
CSO’s employment by the contractor). Id. at *6–*8.

        In Harris v. Attorney General, the District Court for the District of Columbia found that a
Personnel Security Specialist working in the Executive Office for United States Attorneys
(“EOUSA”) in the Department of Justice was a federal employee. 657 F. Supp. 2d 1 (D.D.C.
2009). In that case, an independent contractor hired the plaintiff, but EOUSA screened and
interviewed her before she was hired. Id. at 3. EOUSA supervised contractor employees, set
their schedules and duties, and gave them performance evaluations, while the independent
contractor supervisor had very little contact with the contractor employees and acted “more as a
liaison.” Id. at 11. EOUSA provided the location and essential equipment for work. Id. at 12.
The court found that the plaintiff’s services were “integral to [EOUSA’s] business” and that

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contractor employees provided the same services and received the same supervision as federal
employees at EOUSA. Id. at 11–12. Thus, even though the contractor provided the plaintiff’s
salary, benefits, and vacation time; withheld Social Security taxes on her behalf; and had the
ultimate authority to terminate the plaintiff, EOUSA exercised greater control over the plaintiff’s
employment. Id. at 11–13.

        In contrast, in Redd v. Summers, the Court of Appeals for the District of Columbia
Circuit found that a contract employee who worked as a tour guide in the Treasury Department’s
Bureau of Engraving and Printing was not a federal employee. 232 F.3d 933 (D.C. Cir. 2000).
In that case, the Treasury Department provided the equipment used and place of work. Id. at
939–40. The court also determined that the plaintiff’s Treasury Department supervisor involved
herself in the “means and manner” of the plaintiff’s work for “one short period,” when the
supervisor helped the plaintiff to “improve her tour presentation over the course of five or six
meetings.” Id. at 938. However, the court found that these factors were outweighed by the
factors indicating that the contractor was her employer: the Treasury Department did not train
plaintiff; the contractor provided the majority of supervision over the “means and manner” of
plaintiff’s work performance; tours were part of the Treasury Department’s public relations, not
an integral part of its business; the contractor retained sole authority to terminate the plaintiff,
even though the contract allowed the Treasury Department to reject any guide; and the contractor
paid the plaintiff’s wages, provided her vacation time, and paid Social Security taxes on her
behalf. Id. at 938–40.

        A comparison of petitioner’s case to that of the CSOs in Clark reveals fewer factors
weighing in favor of federal employment. In contrast to Clark, where USMS was involved in the
hiring, training, and background clearances of the CSOs, petitioner has not presented any
evidence that the Army trained him or interviewed him during his hiring process, and it was
Fluor who oversaw his medical and security clearances, not the Army. This case can also be
distinguished from Harris. Petitioner’s Fluor supervisor certainly acted as more than a nominal
supervisor or a liaison with the Army, as shown by her weekly meetings with petitioner. Unlike
in Harris where contractor personnel performed essentially the same services as federal
employees, there is no evidence that federal employees or members of the military performed
duties similar to petitioner. The level of control over the manner and means of petitioner’s work
performance is also less significant than in Clark and Harris, where the government determined
the daily duties and tasks of contractor personnel and monitored their time and attendance. Here,
the Army did not significantly control the means and manner of petitioner’s work performance—
petitioner merely had meetings with Army officials and was influenced by Army regulations,
factors that could be present in many independent contractor relationships. Also, as discussed
above, petitioner’s duties were not a part of the military’s “integral business.” Rather, this case
is more like Redd. As in Redd, even though the contract gave the government power to remove
or reject contractor personnel, the independent contractor retained the ultimate authority to
terminate its employees. Just as in Redd, the federal government provided the equipment used
and place of work, but the contractor trained petitioner, paid his salary and Social Security taxes,
and provided his vacation time.

        In sum, petitioner was the employee solely of the independent contractor Fluor, rather
than a federal employee or a joint employee of the government and Fluor. While the government

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exhibited some control over petitioner in the form of requiring security and medical clearances,
supplying the location and tools for employment, engaging in weekly meetings and daily contact
with petitioner, and contributing to petitioner’s evaluations, the majority of factors, including
those that are the most objective and easy to ascertain, weigh in favor of petitioner being the
employee solely of the independent contractor, Fluor. He was a skilled worker doing specialized
support work for the military. The contract repeatedly refers to the relationship as that between
an employer and an independent contractor. Fluor paid petitioner, provided his health benefits,
gave him vacation time, and was considered his employer for tax purposes. Fluor hired
petitioner and retained the authority to terminate him.

        There is “no genuine dispute as to any material fact” presented. Fed. R. Civ. P. 56(a).
Even when interpreting “all justifiable inferences” in favor of petitioner, Jay, 998 F.2d at 982,
petitioner has not presented probative evidence to show he was a federal employee or member of
the Armed Forces. Rather, the evidence shows that he was solely the employee of Fluor, an
independent contractor.

        Contrary to petitioner’s assertion that the Vaccine Act’s legislative purpose requires a
broad interpretation of “employee” to include federal contract employees, the undersigned finds
significant legislative history supporting a more narrow approach. As the Federal Circuit has
stated, “We cannot disturb the legislative choices Congress made in adopting this compensation
scheme.” Tembenis v. Sec’y of HHS, 733 F.3d 1190, 1199 (Fed. Cir. 2013), rev’g 2012 WL
5395405 (Fed. Cl. Oct. 19, 2012), denying review, 2012 WL 3744722 (Fed. Cl. Spec. Mstr. July
31, 2012), cert. pending, 2014 WL 325699 (U.S. Jan. 24, 2014) (holding that Congress did not
choose to permit an award of future lost wages in cases where the petitioner dies prior to
compensation judgment). The undersigned cannot ignore the limits Congress imposed on
persons vaccinated overseas, as well as within the United States. The Vaccine Program is
grounded in a limited waiver of sovereign immunity. For example, petitioners may recover only
if they have suffered sequelae due to a vaccine injury for more than six months, died as a result
of the vaccination, or suffered inpatient hospitalization and surgical intervention as a result of the
vaccination. 42 U.S.C. § 300aa-11(c)(1)(D)(i). Petitioners’ spouses are not eligible to recover
damages for loss of consortium. 42 U.S.C. § 300aa-11(b)(1)(A). Just as Congress imposed these
conditions to limit who may sue, Congress placed clear limits on who may sue under the Vaccine
Program after receiving a vaccine overseas, and these limits may not be disturbed. Congress, in
creating the Vaccine Program, was concerned about the spread of infectious disease from
overseas to this country, and thus in order to encourage persons overseas to receive vaccines,
allowed people who were likely to return to the United States to file a petition if they had a
vaccine reaction. Petitioner was not a federal employee or a member of the Armed Forces. He
does not meet the requirements of § 300aa-11(c)(1)(B)(i)(II). Petitioner did not return to the
United States within six months of his vaccination. He does not meet the requirements of
§ 300aa-11(c)(1)(B)(i)(III). For these reasons, petitioner is not a valid petitioner under the
Vaccine Act.

                                          CONCLUSION

     Respondent’s motion for summary judgment is GRANTED. Petitioner’s claim is
DISMISSED.

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       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.5


IT IS SO ORDERED.


Dated: April 4, 2014                                                           /s/ Laura D. Millman
                                                                                 Laura D. Millman
                                                                                   Special Master




5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
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